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       Exhibit C
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                                        February 24, 2020


VIA EMAIL: rae.powell@icloud.com; dgattis@gattislaw.com; anc@nevarezlawgroup.com

El Campo Ventures, LLC
213B West 8th Street
Georgetown, Texas 78626

Alfonso “Poncho” Nevárez
Nevárez Law Group, P.C.
780 E. Rio Grande Street
Eagle Pass, Texas 78852

RE: Revised El Campo Ventures, LLC Fee Agreement

Dear El Campo Ventures, LLC:

        This Agreement has been revised to reflect the fee-sharing arrangement among the
attorneys in this case and describes the terms and conditions of the relationship between you as a
client and us as lawyers. Law Office of Ben Gates, P.C. (“LOBG”) and Nevárez Law Group,
P.C. (“NLG”), (“together “Attorneys”, "we", or "us") will represent El Campo Ventures, LLC
("Client" or "you") in connection with any and all claims arising from Client’s business dealings
with Stratton Securities, Inc. and other parties involving the property known as The Studios at
Carrizo Springs (“Claims”). If this Agreement is acceptable to you, please sign and return an
executed copy. We must receive an executed copy of this Agreement before we can begin our
representation.

SCOPE OF ENGAGEMENT

       Subject to the terms and conditions of this Agreement, Attorneys will represent Client as
       described above. Unless specifically requested by you and agreed to in writing by
       Attorneys, you agree that we do not represent you in any other legal matter. You also
       agree that Attorneys do not represent persons or entities related to Client such as
       corporate officers, parents, subsidiaries, or affiliates unless a separate written engagement
       agreement exists setting forth the scope, terms, and conditions of that separate
       representation.

CONTINGENT FEE AND FEE-SHARING

       Attorneys will receive TWENTY-FIVE PERCENT (25%) of the gross sum recovered by
       a settlement that is agreed upon, or other resolution of the Claims that occurs prior to the
       commencement of a trial. Any contingent fee subject to this “before the commencement
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       of a trial” calculation shall then be divided and shared as follows: 80% to LOBG and
       20% to NLG.

       Attorneys will receive THIRTY PERCENT (30%) of the gross sum recovered by a
       settlement that is agreed upon, or other resolution of the Claims that occurs after the
       commencement of a trial. Any contingent fee subject to this “after the commencement of
       a trial” calculation shall then be divided and shared as follows: 66% to LOBG and 34% to
       NLG.

       The term "gross sum recovered" means all money or other things of value, including the
       value of any property or business accommodation recovered by you, including any
       attorneys’ fees awarded by a court or arbitrator(s), without deducting any costs or
       expenses of litigation. You authorize us to require that any settlement check be made
       payable jointly to you and LOBG or, alternatively, that any payment be made by
       electronic transfer to LOBG’s trust account. You also agree that you will endorse any
       such settlement check and will allow us to cash the same and make payment to you of
       your portion of the recovery from the proceeds or, in the case of an electronic transfer,
       from LOBG’s trust account. The contingent fee percentages and other compensation
       terms set forth in this Agreement are not set by law but were negotiated between Client
       and Attorneys.

NONCASH SETTLEMENTS

       If the Claims are settled in whole or in part by your receipt of anything of value other
       than cash, we shall be entitled to demand and receive, at our option: (a) payment for all
       time at Attorneys’ standard hourly rates in effect at the time of settlement; (b) payment in
       cash, under the preceding paragraph on Contingent Fee, of our applicable contingent
       percentage of (i) the present value of any noncash consideration plus (ii) any cash
       received upon settlement; or (c) an undivided interest in any property received by you,
       equal to our applicable contingent percentage as identified in the preceding paragraph on
       Contingent Fee, plus payment of our applicable contingent percentage of any cash
       received as a result of settlement.

EXPENSES

       Subject to other provisions of this Agreement, we will advance on your behalf all costs
       and expenses. You agree that we are entitled to be reimbursed by you out of any
       recovery for any costs or expenses we have advanced or incurred, including (but not
       limited to) expert witness fees, court fees, service-of-process charges, photocopies,
       computer-assisted legal research, long distance telephone and telecopy charges,
       messenger and delivery fees, court reporter fees, travel, meals, hotel and
       messenger/overnight delivery charges. Reimbursement for costs or expenses advanced
       will be deducted from your recovery and shall not reduce the amount of fees earned as set
       forth in this Agreement. In the event of no recovery, you will not be responsible for any
       costs or expenses. To the extent permitted by applicable law, you grant us a lien on any
       and all Claims. Our lien will be for any sums owing to us at the conclusion of our
       services for any attorneys’ fees and unreimbursed expenses we advanced or incurred on
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       your behalf. The lien will attach to any recovery you obtain, whether by arbitration
       award, judgment, settlement, or otherwise. You further agree that we have the right to
       notify defending parties and other, interested third parties of our lien and the right to
       enforce this lien through any valid mechanism.

OWNERSHIP AND PARTIAL COLLATERAL ASSIGNMENT OF THE CLAIMS

       You warrant that you are the sole owner of the Claims. To secure the performance of
       your obligations, as set forth in this Agreement, you collaterally transfer and assign to
       Attorneys an undivided security interest in the Claims, such interest being equivalent to
       the amount or percentage that you, by this engagement, promise to pay for the services
       Attorneys provide. You shall not assign or otherwise create any lien against that part of
       the Claims collaterally assigned to Attorneys pursuant to the preceding sentence.

YOUR INDEMNITY

       You agree to indemnify and hold us harmless for and against any demands or claims
       asserted by others to any portion of the Claims subject to this Agreement.

STATUTORY NOTICE

       The State Bar of Texas requires that we advise you of the following:

       The State Bar of Texas investigates and prosecutes professional misconduct
       committed by Texas attorneys. Although not every complaint against or dispute
       with a lawyer involves professional misconduct, the State Bar Office of General
       Counsel will provide you with information about how to file a complaint. For
       more information, please call (800) 932-1900. This is a toll free phone call.

NO GUARANTEES

       You acknowledge that we have made no guarantees and given no assurances regarding
       the outcome of this matter. You understand that all expressions about the outcome are
       only opinions.

INDEMNITY FOR SANCTIONS

       You agree that any award of fees, expenses, or sanctions awarded against you as a result
       of court or arbitration order that are not the result of our conduct shall be payable solely
       by you and that you shall not look to us to reimburse you for the amount awarded.

INTEGRATION

       This Agreement represents the final and mutual understanding of the parties. It replaces
       and supersedes any prior agreements or understandings, whether written or oral. This
       Agreement may not be modified, amended, or replaced except by another signed written
       agreement.
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COUNTERPARTS

       This Agreement may be executed in counterparts, all of which together shall constitute an
       agreement binding on all the parties hereto, notwithstanding that all such parties are not
       signatories to the original or the same counterpart. Each party shall be bound by this
       Agreement immediately upon affixing its signature hereto, independently of the signature
       of any other party.

SEVERABILITY

       If any part of this Agreement shall for any reason be found unenforceable, the parties
       agree that all other portions shall nevertheless remain valid and enforceable.

NO SOLICIATION/NO BARRATRY

       Client acknowledges and represents that no person has solicited Client on behalf of
       Attorneys. Client further represents that no one has promised Client anything of value or
       any result to induce Client to retain Attorneys. Client acknowledges and represents that
       Client sought representation from Attorneys on their accord and for their own purposes.

CLIENT'S ACKNOWLEDGMENT

       You acknowledge that we have encouraged you to consult independent counsel
       concerning the negotiation of this Agreement and its terms, that you have made sufficient
       investigation and inquiry to determine that this Agreement is fair and reasonable to you,
       and that this Agreement was the product of arm's length negotiation with us. You
       warrant to us that you have either consulted such independent counselor, having had an
       adequate opportunity to seek such advice, or have declined to follow our advice that you
       do so. We discuss the terms and conditions of our engagement so candidly because we
       believe that you are entitled to know our policies and that this type of frank discussion
       will avoid any misunderstandings later.

        Please sign a copy of this Agreement in the space provided on the following page
indicating your agreement to the terms and conditions set forth above. When we receive this
Agreement signed by you, we will commence our representation in the above-described matter.


                                                      Sincerely,




                                                      Benjamin P. Gates
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